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IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF DELAWARE

AUTUMN LAMPKINS, )
Plaintiff, §
v. § Civ. No. 16-647-CFC
MITRA QSR KNE, LLC, §
Defendant. §
0 R D E R

At Wilmington this [Q+Jd\§y of February, 2019,
IT IS ORDERED that the Clerk of Court for the District of Delaware be and is hereby
directed to furnish lunch for eight (8) jurors in the above captioned case for the dates of February

7-8, 2019.

§LQ£A

United States Districbl(\dge

cc: Financial Administrator

